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PRISONER'S CIVIL RIGHTS COMPLAINT (Rev. 05/2015)


                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE Western      DISTRICT OF TEX4S                                FEa 1
                                       San Antonio  DIVISION                                                    2023

                                                                                                                R CT CLERK

Plaintiff's Name and ID Number

                  L
Place of Confinement
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                                                                                     _
                                                                         CASE NO. S:22-cv-flO1 X6XR
                                                                                (Clerk will assign the number)
V.



                  21-Ic
                                  LCtthi1l       L
Defendant's Name and Address 3cC)                5 5.
                             4Jt

Defendant's Name and Address


Defendant's Name and Address
(DO NOT USE "ET AL.")

                                      INSTRUCTIONS - READ CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1.  To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 8, Federal Rules of Civil Procedure. Make a short and
                                                               1


plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4.   When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as "VENUE LIST" is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.
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FILING FEE AND INFORMA PAUPERIS (IFP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2.  If you do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
informa pauperis. In this event you must complete the application to proceed informa pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at your prison unit.

3.   The Prison Litigation Reform Act of 1995 (PLRA) provides "... if a prisoner brings a civil action or files an
appeal informapauperis, the prisoner shall be required to pay the full amount of a filing fee." See 28 U.s.c.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from your inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding informapauperis.)

4.  If you intend to seek informapauperis status, do not send your complaint without an application to proceed
informapauperis and the certificate of inmate trust account. complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked "NOTICE TO THE COURT OF CHANGE OF ADDRESS" and shall not include any motion for any
other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of civil Procedure.

1.   PREVIOUS LAWSUITS:
        A. Have you filed any other lawsuit in state or federal court relating to your imprisonment?          YES\/NO
        B.   If your answer to "A" is "yes," describe each lawsuit in the space below. (If there is more than one
              lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

             1.    Approximate date of filing lawsuit: 12.- 2O      2O'2..2_

             2. Parties to previous lawsuit
                   Plaintiff(s)
                   Defendant(s)
             3. Court: (If federal, name the district; if state, name the county.)
             4.    Cause number:
             5. Name ofjudge to whom case was assigned:
             6. Disposition: (Was the case dismissed, appealed, still pending?)
             7. Approximate date of disposition:___________________________


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II.    PLACE OF PRESENT CONFINEMENT: CI*IAL.                             AIL.                       Qr7
III.   EXHAUSTION OF GRIEVANCE PROCEDURES:
       Have you exhausted all steps of the institutional grievance procedure?                     'V'YES        NO
       Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

IV.    PARTIES TO THIS SUIT:
       A. Name and address ofplaintiff: 1vc      tj    't>                      l'3l COfrIAL. C.tIAil)I SAiL.
          2      I4        '   (3                            ,ix    ))
       B. Full name of each defendant, his official position, his place of employment, and his full mailing address.

          Defendant#I:                            .           Ctc.si'j      u           &\5. L6k)

           Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
                               bt c\v                        tkff                 JLk

          Defendant #2:


          Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.



          Defendant #3:


           Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.



          Defendant #4:


          Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.



          Defendant #5:


           Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
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                       COMAL COUNTY SHERIFF'S OFFICE

                               INMATE GRIEVANCE

COMPLETED BY: SGT EBERT #3347

INMATE: ESQUIVEL, FRANCISCO                            SPN# 632952            CELL# B1-2
DATE: 7-20-2021
GRIEVANCE # 594

 Your grievance has been received and reviewed. After further investigation, your grievance
 was founded in the allegations you reported in respect to having been subject to a prohibited
 act by a staff member. A review of this incident shows that you were being escorted to an
 alternative housing area following your removal from cell D5. This movement occurred
because of your displeasure with a sheet that was exchanged and your subsequent refusal
 to keep the sheet, kicking it back at the feet of the officer. You were then brought out of
the cell to further discuss the matter at hand.
During this incident you were handcuffed for the safety of all involved as you were
 observed to be passively resistant and agitated by the officer's directives. The
determination was then made to relocate you. While entering the D-Separation cell hallway
you were observed turning towards the officer while being escorted. It was at this time,
while you were still handcuffed, that Ofc Mora #3409 utilized defensive tactics that
resulted in your head coming into contact with the wall.
It was determined through administrative investigation that this action was not in
accordance with proper procedure for this incident. As a result, corrective action was taken
to handle this matter accordingly and to help prevent future instances from occurring.
As far as your allegation of being subject to a criminal act, the administrative investigation
did not result in the determination that Ofc Mora intended to recklessly or intentionally
cause harm to you. Ofc Mora exercised a poor judgement of his use of a defensive tactics
that unintentionally caused the injuries that you reported.
When mentioning previous instances of harassment, remember that the grievance process
can only account for incidents that occur no more than seven days prior to the request of
the grievance.
This grievance has n w been addressed.


 rievance Board Member                                                       DATE


Giiv'ance Board Member                                                       DATE

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Grievance Board Member                                                       DATE


Inmate Receiving                                                             DATE
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V.      STATEMENT OF CLAIM:
        State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
        when did it happen, and who was involved. Describe how            ii defendant is involved. You need not give
        any legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number
        and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
        complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY
        STRIKE YOUR COMPLAINT.




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VI.     RELIEF:
        State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
        statutes.

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VII.    GENERAL BACKGROUND INFORMATION:
        A. State, in complete form, all names you have ever used or been known by including any and all aliases.
                     c5   C4-'



        B. List all TDCJ-CID identification numbers you have ever been assigned and all other state or federal
           prison or FBI numbers ever assigned to you.

             ct000-4'.                      4'45L)       O21(J1
VIII.   SANCTIONS:
                                                                                                                 /
        A. Have you been sanctioned by any court as a result of any lawsuit you have filed?                YES -V/NO
        B.   If your answer is "yes," give the following information for every lawsuit in which sanctions were
             imposed. (If more than one, use another piece of paper and answer the same questions.)

                Court that imposed sanctions (if federal, give the district and division):
             2. Case number:
             3. Approximate date sanctions were imposed:_________________________________________________
             4. Have the sanctions been lifted or otherwise satisfied?                                     YES -" NO


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       C. Has any court ever warned or notified you that sanctions could be imposed?                    _____YESJNO
       D.   If your answer is "yes," give the following information for every lawsuit in which a warning was issued.
            (If more than one, use another piece of paper and answer the same questions.)
                1.   Court that issued warning (if federal, give the district and division):
            2. Case number:
            3.       Approximate date warning was issued:


Executed on:
                      DATE

                                                                                     (Signature of Plaintiff)


PLAINTIFF'S DECLARATIONS

       1.   I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
            and correct.
       2.   I understand, if I am released or transferred, it is my responsibility to keep the court informed of my
            current mailing address and failure to do so may result in the dismissal of this lawsuit.
       3.   I understand I must exhaust all available administrative remedies prior to filing this lawsuit.
       4.     understand I am prohibited from bringing an informapauperis lawsuit if I have brought three or more
            civil actions or appeals (from a judgment in a civil action) in a court of the United States while
            incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
            frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
            imminent danger of serious physical injury.
       5.   1 understand even if I am allowed to proceed without prepayment of costs, I am responsible for the entire

            filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
            inmate trust account by my custodian until the filing fee is paid.


Signed this 11r                             day of                             ,20 1..3
                            (Day)                         (month)                  (year)




                                                                               A
                                                                                            V
                                                                                     (Signature of I?aintiff)


WARNING: Plaintiff is advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.
                                                                                                 COMAL COUNTY JAIL. REQUEST/GRIEVANCE
                                                                                                         (ONLY ONR REQUEST PER FORM)
                                                               NAME:                                                                             CELL:
                                                               PURPOSI
                                                                         1. REQUEST      2.GRIEVANCE           3. MEbICAL             4. OTHER
                                                               REASO4 FOR REQUE       CE/MEDICAL OR OTHER (BESPECIFIC UNLESS MEDICALLY CONFIDE
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Francico Esquivel 632952
3000 IH 35 S                                                    SAN ANTON
NEW BRJLS TX 78130                                             RIO (3RANDE
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2/6/2023




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